                                                United States Bankruptcy Court
                                                Northern District of Alabama
 In re:                                                                                                     Case No. 11-83381-JAC
 Anthony Lee Pierce                                                                                         Chapter 12
 Peggy Harbin Pierce
          Debtors
                                                  CERTIFICATE OF NOTICE
 District/off: 1126-8                  User: kpressnel                    Page 1 of 2                          Date Rcvd: Feb 02, 2012
                                       Form ID: van014                    Total Noticed: 4


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Feb 04, 2012.
 db/jdb        +Anthony Lee Pierce,    Peggy Harbin Pierce,   8754 Moores Mill Road,
                 Meridianville, Al 35759-1404
 cr            +Bank of America, N.A. c/o Prober & Raphael, A Law,    20750 Ventura Blvd, Suite 100,
                 Woodland Hills, CA 91364-6207
 cr            +Deere & Company,    S. Dagnal Rowe,   Wilmer & Lee, P.A.,   P. O. Box 2168,
                 Huntsville, AL 35804-2168
 cr             REdstone Federal Credit Union,    c/o C. Howard Grisham,   Post Office Box 5585,
                 Huntsville, AL 35814-5585

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 NONE.                                                                                       TOTAL: 0

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Feb 04, 2012                                       Signature:




           Case 11-83381-CRJ13 Doc 50 Filed 02/04/12 Entered 02/05/12 00:23:24                                               Desc
                              Imaged Certificate of Notice Page 1 of 3
District/off: 1126-8          User: kpressnel             Page 2 of 2                  Date Rcvd: Feb 02, 2012
                              Form ID: van014             Total Noticed: 4


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 2, 2012 at the address(es) listed below:
              Jeffrey L Cook   on behalf of Creditor REdstone Federal Credit Union jcook7117@yahoo.com
              Kevin D. Heard   on behalf of Debtor Anthony Pierce kheard@heardlaw.com,
               aary@heardlaw.com;sandy@heardlaw.com;kheard619@gmail.com;adauro@heardlaw.com;bstonemetz@heardlaw.
               com
              S. Dagnal Rowe   on behalf of Creditor Deere & Company drowe@wilmerlee.com,
               dbranche@wilmerlee.com
              Taylor Patrick Brooks   tpb@lfsp.com, cashwell@lanierford.com
                                                                                            TOTAL: 4




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                           Imaged Certificate of Notice Page 2 of 3
Van−014 [Notice of Final Hearing] (Rev. 07/11)

                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                            Case No. 11−83381−JAC12
Anthony Lee Pierce                                                                Chapter 12
SSN: xxx−xx−3914
Peggy Harbin Pierce
SSN: xxx−xx−6237
        Debtor(s)

                                          NOTICE OF FINAL HEARING
      Notice is hereby given that Redstone Federal Credit Union filed a Motion for Relief from Automatic Stay
on (1) 2007 Dodge Durango in the above−styled case. The preliminary hearing shall be consolidated with the final
evidentiary hearing and parties are to be prepared for trial.

        The final hearing will be held to consider and act upon said Motion.

        Date: Monday, February 27, 2012                  Time: 09:00 AM

        Location: Federal Building, Cain St Entrance, 3rd Floor Courtroom, Decatur, AL 35601



      Attendance is not required if a settlement has been reached and filed with the Court by an attorney prior to the
hearing date.

Dated: February 2, 2012                                     By:

                                                            Scott W. Ford, Clerk
                                                            United States Bankruptcy Court
kap




      Case 11-83381-CRJ13 Doc 50 Filed 02/04/12 Entered 02/05/12 00:23:24                                   Desc
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